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                          U NITED STA TE S D ISTR IC T C O U RT
                     FO R TH E SO U TH ER N D ISTR ICT O F FLO R IDA

                               Case N o.


                            )
FEDEM L TRADE COM M ISSION, )                               FILED BY                  D'C ,
                            )
    Plaintiff,              )
                                                                 N0k 1: 2022
                                                                  ANGELA E.NOBLE
                                                                 cLERK tl.S.DfsT:cm
                                                                 s.D.OF FLA.-M IAMI
DIG ITA L IN CO M E SY STEM ,lN C .,
  a Florida corporation,

DER EK FO LEY ,aka D erek Jones,
  individually and as an ow ner,
  offk er,and/or m anager of
 D igitallncom e System ,lnc.

W ILLIA M FO LEY ,individually and
  as an ow ner,officer,and/or
  m anager ofD igitallncom e
  System ,Inc.,

C H R ISTO PH ER BR AN D O N FRY E ,
  lndividually,

JEN N IFER H ED R ICK ,
  lndividually,and

K M TLY N SC O TT,
  lndividually,

      D efendants.
                                       )

        C ER TIFIC A TIO N AN D DE CLA R ATIO N O F PLAIN TIFF'S CO UN SEL
  HAROLD KIRTZ IN SUPPORT OF:(1)PLAINTIFF'SEX PARTE M OTION FOR
TEM PORARY RESTRM NING ORDER,ASSET FREEZE,AND OTHER EQUITABLE
  RE LIE F,AN D O R D ER TO SH O W CA U SE W H Y A PR ELIM IN A RY IN JU N CTIO N
 SHOULD NOT BE ENTERED;AND (2)PLAINTIFF'SFX JNATF M OTION TO SEAL
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1,H arold K irtz,declare as follow s:
       1am over eighteen years ofage and am a citizen ofthe United States. lam one ofthe
attorneysrepresentingtheFederalTradeCommission(ûûFTC'')inthisactionagainstDefendants
DigitallncomeSystem,lnc.(CtcorporateDefendanf'),and DerekJonesFoley,W illiam J.Foley,
ChristopherBrandonFrye,JelmiferHedrick,andKaitlyn Scott(kûlndividualDefendants''),
individually and,and forD erek JonesFoley and W illiam J.Foley,asow ners and officers ofthe
C om orate Defendant.
   2. 1am licensed to practice law in the States ofGeorgia and South Carolina and am certitied
topracticeinthisCourtonbehalfoftheFTC pursuanttoRule4(d)oftheCourt'sSpecialRules
GoverningtheAdmissionandPracticeofAttorneys(SpecialBarNo.A5500743).M ybusiness
addressis225 Peachtree Street,Suite 1500,A tlanta,Georgia 30303. The following statem ents
arew ithin my personalknowledge,and ifcalled asawitness,lcould com petently testify thereto.
   3. IsubmitthiscertificationpursuanttoRule65(b)(1)oftheFederalRulesofCivil
Procedureand28U.S.C.j1746in supportoftheFTC'SExParteM otionforaTemporary
Restraining O rder,A ssetFreeze,Appointm entofa Receiver,lm m ediate A ccess,and Other
EquitableRelief,andan OrdertoShow CauseW hyaPreliminarylnjunction ShouldNotlssue
(CCTRO M otion'')andin supportoftheFTC'SrequestthattheproposedTemporaryRestraining
Order(t(TRO'')beissuedwithoutnoticetoDefendants.1alsosubmitthiscertificationin support
oftheFTC'SExParteM otiontoSeal(ûtsealMotion''),tiledcontemporaneouslywiththeTRO
M otion.
       Pursuantto Rule65(b)(1),thisCourtmayissueaTRO withoutnoticetoDefendantsif
thefactsshow thatimmediateandirreparableinjurywillresulttotheapplicantifnoticeisgiven
and ifcounselttcertifies in w riting any effortsm ade to give notice and the reasons why itshould
notberequired.''Fed.R.Civ.P.65(b).TheFTC hasnoinfonuationorbeliefastotheidentity
ofcounselrepresenting D efendantsas to the allegations in the Com plaint. Forthe reasons stated
below ,the FTC has notprovided D efendants w ith notice ofthe filing ofthis action orthe TRO
M otion.Theinterestsofjusticerequirethatthesetilingsbeheardexparte.
       The issuanceofanon-noticed exparteTRO isappropriate to selwethedtunderlying
purposeofpreservingthestatusquoandpreventingirreparablehal'm justsolongasisnecessary
to hold a hearing,and no longer.'' See OgangiCorp.v.Anzola,N o.19-231l8-C1V ,2019 W L
7643428,at*2(S.D.Fla.July 30,2019),
                                  .fouis VuittonMalletier,S.A.v.Ivonlineoutlet.com,No.

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17-62403-C1V,2018W L 4778195,at*2 (S.D.Fla.Feb.12,2018);VIP Cinema,LLC v.
EurokeytonS.A.,No.12-62164-C1V,2012W L 5398672,at*2(S.D.Fla.Nov.2,2012)(quoting
Granny GooseFoods Inc.v.Brotherhood oflkamsters,415U.S.423,439(1974)).
                 D EFEN DA N TK DE CEPT IV E AN D ILLE GA L PR AC TIC ES
    6. The evidence setforth in the TRO M otion and supporting m em orandum and exhibits,
filed concurrently herewith,demonstratesthatDefendantshaveengaged in deceptiveand
unlawfulpractices in connection w ith the m arketing and sale ofpurported m oney-m aking
opportunities.
       Consum ersthatgetinvolved w ith Defendantsare looking forw aysto supplem enttheir
incom eorto earn m oney whilethey haveto stay athome.Defendantsofferwhatthey claim to
be a w ay to m ake substantialincom e w ith a system thatw orkson autopilot. D efendants
advertise thatthe com pany doesa11ofthe w ork;the consum ers need only purchase their
m em bership in the com pany in orderto m ake m oney. The com pany findsthe leadsforthe
consum er,pursues the leads,m akesthe salespresentations,and closesthe sales,thereby m aking
m oney forthecompany andtheconsum er.However,many consum ersearn littleorno money.
Consum ers'requests forrefundsare ignored or dism issed.
   8. DigitallncomeSystem,lnc.(dûD1S'')hasawebsitethatoffers(ûA Fully-Automatic
System forGenerating Onlinelncom e:Digitallncome System isan integrated all-in-one
m arketing solution forgenerating stable online incom e through the use ofdone-for-you traffic,
m arketing autom ation,and sales force crow dsharing.'' The D 1S w ebsite m akesthe follow ing
claim sabouthow m uch m oney consum erscan expectto earn through D lS:
           a. tlconsum erswillearn between $500 and $12,500 persale.''
           b SiY ou can becom e very w ealthy.''
                 ûlEach tim e w e close a sale on your behalf,w e send a huge 50% com m ission
               check straightto yourdoorstep.''
           d. ttA.
                 n am azingly simpleway to generatean extra$500 alltheway up to an extra
              $12,500 orm ore in steady incom e.''
           e. SkW ith this unique opportunity,you can generate paym entsm ade to you w ithout
               thesteep learning curveortedioushard work thattheotherprogram sm akeyou
               do....W ith ourD igitallncom e System ,you'llneverhave to sellanything to
               anyone. Thatis why our system is w orking for people from a1lw alks oflife.''
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               ûû-
                 l-he num berone w ay to have a greatfinancialfuture isto m ake a lotofm oney
               rightnow .... Focusa few minutesaday and generate$500 to $12,500 orm ore
               in steady incom e w ith oureasy three-step system .''
    9. The O wnerD efendantsand the Prom oterDefendantsrepeatthese sam e
misrepresentationsm any timesoverto convince consum ersto purchasem em bership. O nce the
consum ers are convinced to buy,in m any instancesthey discoverthatthey do notearn m oney on
ûéautopilot,''asadvertised.M any consum ersdonotmakethe substantialearningsthatthey are
told by Defendantsthatthey willm ake, and,in fact,m any consum ersm ake no m oney atall.
    10.D efendants'illegalprad icesviolate Section 5 ofthe FederalTrade Com m ission Act
('SFTC Act''),15U.S.C.j45,andtheFTC'SBusinessOpportunityRule(tûBiz.Op.Rule''),16
C .F.R.Part437.
                                    T H E PR O PO SED TR O
    1l.TheproposedTRO wouldtemporarily:(l)enjoinDefendantsfrom engagingindeceptive
adsandpradicesin eonnedion with them arketing and sale ofpurported m oney-m aking
opportunitiesand from violating Section 5 ofthe FTC Actand the Biz. Op.Rule;(2)freeze
Defendants'assetstopreservethem forpotentialrestitutiontovictims;(3)enjoinDefendants
and third partiesfrom destroying orconcealing docum ents, and from transferring,concealing or
otherwisedisposingofassets;(4)appointareceiver,
                                              '(5)requireDefendantstoidentifya1lassets,
repatriate allassets located outside the U .S.,provide certain businessinform ation, and provide
inform ation relating to theircurrentfinancialcondition'
                                                       ,(6)granttheFTC immediateaccessto
theDefendants'businesspremisesandrecords;and(7)show causewhyapreliminary injunction
should notissue.
                       R EA SO N S FO R FILIN G EX PA R TE A N D
               FO R A TEM PO R AR Y SEA L O F TH E EN TIRE CA SE FILE
   12.ltisproperto issuenon-noticed cxparteTROswhen proeeeding cxparteisthekisole
m ethod ofpreserving a state ofaffairs in which the courtcan provide effective tinalrelief'' See
ProjectVotev.Madison C@.#J.ofElections,No.1:08-cv-2266JG,2008W L 4445176,at*7
(N.D.OhioSept.29,2008)(quotingAdobe5'  y5'.,lnc.v.S.SunProds.,lnc.,187F.R.D.636,639
(S.D.Cal.1999)),
               .Adobek $'
                        Aw.,Inc.v.S.SunProducts,Inc.,187F.R.D.636,639(S.D.Cal.1999)
(quotingMatterof VuittonetFilsS.A.,606F.2d 1,4(2dCir.1979)).Forexample,when aparty
threatenstûim minentdestruction ofthedisputedproperty,itsremovalbeyond the confinesofthe
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 state,oritssaleto an innocentthirdparty,''ûûgivingthedefendantnotice ofthe application foran
injunction couldresultin aninabilitytoprovideanyreliefatall.''Emerging Vision,Inc.v      .


Glachman,No.10-80734-C1V,2010 W L 3293346, at*4(S.D.Fla.June29,2010)(quoting
A dobe ,
       S'
        yw.,lnc.,187 F.R.D .at640 n 3);AdobeSys,Inc.,187F.
                                      .                      R.D.at640(quoting Vuitton,
606F.2dat4).Theapplicantforcxpartereliefcanalsosupportsuch assertionsby showing
that,based on pastexperience,defendants, orpersonssim ilarto defendants,haveahistory of
disposing ofevidence orviolating courtordersand, therefore,arelikely to engage in such
condud . See G lachm an,2010 W L 3293346, at*6.
                                              ,Adobe Sys.,Inc.,187 F.R.D .at640.
    13.Courtsin thisand otherdistrictsin theEleventh Circuithave granted num eroussuch non-
noticed exparte TRO s,w hich,w here appropriate, haveincluded an assetfreeze,appointm entof
a receiver,and im m ediate accessto businessprem ises. See,e.g.,FTC v.SimpleHealth Plans
LLC,CaseNo.0:l8-cv-62593-DPG,Doc.15(S.D.Fla.Oct.31,2018)(exparteandtemporarily
sealed TR O w ith,inter alia,im m ediate access, temporaryreceiver,andassetfreeze);FFC v.
Pointbreak M edia,LLC,Case N o.0:18-cbv-61017-CM A , Doc.12(M ay8,2018)(same);FFC v.
StudentDebtDoctorLLC,No.17-cv-61937 W PD , Doc.4(S.     D.Fla.Oct.2,2017)(samel;FFC
v.Am erican StudentLoan Consolidators,N o.0:17-cv-61862-DPG , Doc.9 (S.
                                                                      D.Fla.Sept.26,
2017)(same);FFC v.StrategicStudentSolutionsLLC,CaseNo.9:17-cv-80619-
DIM ITROULEAS,Doc.10(S.D.Fla.M ay 15,2017)(same);FFC v.WorldPatentAf/c/g.,lnc.,
No.17-cv-208448-GAYLES,Doc.No.11(S.D.Fla.Mar.8,2017)(samel' ,FFC v.MailTree,
Inc.,No.15-cv-61034-COHN,Doc.No.16(S.D.Fla.M ay 19,2015)(same);FFC v.
InboundcallExperts,N o.14-81395-CIV-M AlkRA , Doc.No.12(S.D.Fla.Nov.14,2014)
(samel;FFC v.BoostSoftware,Inc.,No.14-81397-C1V-M ARRA,Doc.No.13(S.D.Fla.Nov.
12,2014)(samel;FFC v.CentroNaturalCorp.,No.14-23879-ClV-ALTONAGA,Doc.No.10
(S.D.Fla.Od.20,2014)(samel;FFC v.PartnersinHealthcareAssoc.,Inc.,No.14-ev-23109-
SCOLA,Doc.No.9(S.D.Fla.Aug.25,2014)(same);FFC v.FMC CounselingServs.,Inc.,No.
14-61545-ClV-ZLOCH,Doc.No.15(S.D.Fla.Jul.7,2014)(same).
    14.To the bestofthe FTC'Sknow ledge,D efendants are notaw are thatthe FTC has
uneovered evidence oftheirlegalviolations orthatthe FTC seeksredressfrom them . Butthere
is am ple reason to believe thatD efendantshave the m otivation and opportunity to concealand
dissipate assets and destroy evidence ifthey prem aturely learn ofthe FTC 'S ad ion.



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    15.D efendants operate a businessthatisperm eated by fraud and thatrelies on deceiving
consum ers,and they continue m aking theirm isrepresentations despite num erous com plaints
from consum ers. Aftertellingconsum ershow easy itisto make money by becomingm em bers
in D IS,Defendants ignore the pleas ofconsum ersto help them w hen the consum ersrealize that
D 1S doesnotearn them any m oney. U sing a com m ercialm ailcenter,a U PS store, as the
cop orate addresshelps hide theirlocation and existence. In addition,barlk recordsshow thatthe
OwnerDefendantsroutinely use com oratefundsbytaking outsubstantialamountsofm oney for
them selves. Because ofthe pervasive nature ofD efendants'law violations, the FTC believes
thereissignificantrisk thatDefendantsm ay dissipateassetsand destroy evidenceifthey receive
notice ofthe FTC 'S intention to seek reliefforconsum ers.
    16.The ongoing nature ofDefendants'illegalpractices, coupled with theOwnerDefendants'
use ofcop orate assets forpersonalpurposes, dem onstratesalikelihood thatDefendantswill
dissipate orconcealassets and destroy or concealevidence oftheirunlaw fulconductw ithout
promptentry oftheassetfreezeand theevidencepreservation provisionsoftheproposed
restraining order. This would cause im m ediate and irreparable hann to the FTC 'S ability to
achieve effectivefinalreliefforconsumers, including m onetary redressorrestitution and
disgorgem entofill-gotten funds.
    17.lthas been the FTC 'S experience thatDefendantsinvolved in deceptive actsand
practices,who receivenotice ofthe filing ofan action by the FTC, orofthe FTC 'Sintentto file
an action,often attem ptto underm ine the FTC'S efforts to preservethe status quo by
im m ediately dissipating orconcealing assetsordestroying docum ents. The follow ing exam ples,
provided on inform ation and belief,have occurred in thisD istrictand illustrate the FTC 'S
concerns:

              lnFFC v.PrimeLegalPlansLLC,No.12-61872(S.D.Fla.2012),theFTC
              obtained an exparte TRO w ith an assetfreeze and appointm entofa receiver.
              W ithin hoursoflearning ofthe action,thedefendantsm oved approxim ately $2
              m illion to bank accountsbelonging to severalnon-party individuals, atleast
              $200,000 ofwhich were neverrecovered.
              lnFTC v.Khalilian,No.10-21788(S.D.Fla.2010),theFTC obtained anexparte
              TRO freezingthe assetsofdefendantsoperating atelem arketing scam . A fter
              being served withtheTRO,oneofthe defendants, Fred K halilian,directed his
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            employeeto withdraw $71,000 in cash from afrozen corporate account. W hile
            conducting an assetdeposition ofKhalilian's tiancé, the court-appointed receiver
            learned thatindividuals were using a rented truck to rem ove tens ofthousands of
            dollars'worth offurniture and othervaluablesfrom a luxury apartm entoccupied
            by Khalilian andhistiancéand paid forwith proceedsofthescam . The receiver
            im m ediately ended the deposition and, w ith the assistance oflaw enforcem ent,
            prevented Khalilian'sassociatesfrom absconding with theproperty.
        c. ln F FC v.Am erican Entertainm entD istributors, Inc,No.04-2243l(S.D.Fla.
            2004),thisCourtenteredanassetfreezethatfrozetheassetsoften corporateand
            individualdefendants. W ithin hoursofreceiving noticeoftheassetfreeze, one of
            theindividualdefendantswithdrew $39,500 from hisbank. Because the asset
            freezehad been inplace,theFTC wasableto compelthe individualdefendantto
           return the m oney.
           InFFC v.AccessRes.Servs.,Inc.,No.02-60226 (S.D.Fla.2002),adefendant
           who lenrned abouttheFTC'Saction attempted to dissipate $579,600by paying off
           the m ortgage on hisresidence,which w as protected by Florida'shom estead
           protection law s.
  18.Exam plesfrom otherDistrictsincludethefollowing:
           ln F FC v.CriticalResolution M ediation LLC , Case N o.1:20-cv-03932-JPB,
           Docs.l1and 14) (N.D.Ga.Sept.30,2020),theFTC soughtand obtainedanex
           parte TRO with an assetfreeze. An ofticerofthe corporatedefendantpresented
           a check to withdraw $120,000 from acorporatebank accountaboutonehourafter
           theTRO hadbeensignedbythejudge.Thatissueisstillbeingarguedincourt.
           ln FTC v.faptop and Desktop Repair, LLC,No.1:16-cv-3591-AT (N.D.Ga.
           2016),theFTC soughtandobtainedanexparteTRO withan assetfreeze.Afler
           learning thatthe TR O had been granted, one defendantim m ediately w ithdrew
           m oney and transferred itto a non-defendantlim ited liability com pany. On the
           daythatthecourtentered apreliminaryinjunctionwithanassetfreeze,thesame
           defendantwithdrew $103,369 from hispersonalonlinebrokerageaccountand
           transferred the m oney to anotherpersonalaccount.
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           ln FTC v.Asset& CapitalM gm t Grp.,No.8:13-cv-01107-DSF-JC (C.
                                            .
                                                                        D.Cal.
           2013),fullyoneweek aftertheCourtgranted,andtheFTC servedonall
           defendants,an exparte TRO thatfrozedefendants'assetsand appointed a
           Receiver,theReceiveridentified an additionalbusinesssitethatdefendantshad
           failed to disclose.Theundisclosed siteturned outtobethedefendants'
           headquarters and contained extensive businessrecords, including com orate and
           tax records,bank statem ents,and personnelfilesfordozensofdefendants'
           entities. The Receiver arrived atthe site unannounced, afterreceiving repeated
           assurancesfrom defendantsthatthey had disclosed alloftheirbusiness
           locations. H e found a defendantand hiscolleague canying folded bankers'boxes
           from theircarto thesite,clearly intenton removingm aterialsfrom the
           prem ises. W hen the Receiver gained entry to the site, he found evidence that
           desktop com puters and recordsrecently had been rem oved. The FTC
           subsequently learned thatm orethan 60 serversand extensiverecordshad been
           taken.
           lnFFC'v.E.M A.Nationwide,Inc.,No.1:12-cv-2394(N.D.Ohio2012),theFTC
           filed foran exparte TR O and corporate assetfreeze, butthe courtrequired that
           notice be given to the defendants. W ithin a w eek ofobtaining notice, the
           defendantshad withdrawn m orethan $152,000from acorporatebank aceount            .


        e. ln F FC v.TranscontinentalW arranty lnc., No.09-cv-2927(N.D.111.2009),the
           CourtgrantedtheFTC'Sm otion foratemporary restraining orderfreezing
           defendants'assetsand appointing a receiver. How ever,w hen the receiverand
           counselfortheFTC arrived atthecorporatedefendant'sprem isespursuantto the
           court'sorder,hundredsoffolderswith labelsindicating thatthey contained
           records ofdefendants'm ostrecenttransactionsw ere found em pty. In addition,
           fivecom puters,includingthatofthecorporate defendant'sCFO , wereallegedly
           stolen the nightbefore the receiverand counselforthe FTC arrived atthe
           prem ises,and variousthird-party tradedebtorsofthecorporatedefendantfroze
           paym entsdue to the corporate defendant,w hich resulted in extensive litigation
           overthese assetsand ultim ately costthereceivership estate tensofthousandsof
           dollars.
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           In FTC v.GlobalM arketing Grp ., lnc.,No.06CV 2272(M .
                                                                D.Fla.2006),the
           courtgranted the FTC'Sexparte m otion fora tem porary restraining orderw ith an
           assetfreeze,which the FTC served on banksknown to hold accountsofthe
           defendants.Afterbeing served with theorder,one ofthedefendantssuccessfully
           withdrew over$500,000 from accountspreviously unknown to theFTC. M ostof
           these fundswerewiredto offshore bank accounts.Thisdefendantwasultim ately
           held in contemptofcourtand tledthecountry afterfailing to appearata show
           eause hearing.
        g. OnAugust9,2006,inFFC v.Connelly,SA CV-06-701DOC (RNBx)(C.D.Cal.
           2006),thecourtissuedanexparteTRO withanassetfreezeagainstone
           defendant,butissued anoticed Orderto Show Causeto two otherdefendants,
           ordering them to show causeasto why theirassetsshould notbe frozen. H aving
           notice thatthe FTC soughtto freeze theirassets, thedefendantsnevertheless
           withdrew atleast$800,000,someofwhichwassubjecttotheassetfreeze,and
           m ostofw hich w as neverrecovered.
           In F FC v. UniversalPrem ium Servs., Inc.,No.06-849(C.D.Cal.2006),a
           defendantandhiswifewithdrew over$45,000from theirjointpersonalbank
           account,which thebank had notyetfrozen,hoursafterhewaspersonally served
           w ith an exparte TRO thatincluded an assetfreeze. Subsequently,the defendant
           withdrew over$4,700 viaelectronicdebitorcheck,also in violation oftheTRO        .


           lnFFC v.World Traders..
                                 d5w'n,No.05-591(C.D.Cal.2005),notwithstandingan
           exparteTRO,including an assetfreeze,thelead defendantsappropriated $90,459
           from a frozen bank accountw ithin one day ofbeing served with the TRO .
           Although the contem ptresulted in subsequentcrim inalindictm ents, the m oney
           wasneverrecovered.
           InFFC v.4049705CanadaInc.,No.04-cv-4694('
                                                   N .D.111.2004),Canadian
           authoritiesexecuted a search warranton thebusinessprem isesofCanadian
           defendantswhowereengaged in telem arketing fraud. Thereafter,theFTC tiled a
           com plaintand motion foratemporary restraining orderwith an assetfreeze,
           providing noticeto defendants.The FTC subsequently discovered thatdefendants



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            had m ade severalsubstantialm oney transfers afterreceiving notice ofthe FTC'S
            action butbefore the assetfreezew as im posed.
         k. InFFC v.UnicyberTechnology lnc.,No.CV 04-1569LGB (C.D.Cal.2004),the
            courtgranted the FTC 'sexparte application fora tem porary restraining order
            with an assetfreezeand appointm entofareceiver. Shortly aftertheindividual
            defendantw as served w ith the TR O,he called his wife,w ho- athisdirection-
            violated the assetfreezeby transferring $405,000ofcorporate fundsto herfather.
         1. lnFFC v.Nat1ConsumerCouncil,No.SA CV-04-0474(C.D.Cal.2004),the
            courtgranted the FTC 'Sexparte application for a tem porary restraining order
            with assetfreezeandtheappointm entofatemporary receiveragainstallbutone
            ofthe corporate defendants. One ofthe individualdefendantsthen deleted key
            electronic fileson the defendants'shared netw ork serverby accessing hisaccount
            through a com puterunderthe controlofthe corporate defendantthatw asnot
            underthe receivership.
         m.lnFFC v.CheckInvestors,Inc.,No.03-cv-02115(D.N.J.2003),theCourtdenied
            the FTC 'Srequestto have its m otion fortem porary restraining orderw ith asset
            freeze heard on an exparte basisand,instead,required the FTC to give the
            defendantsnotice.Afterthenoticed hearing,the CourtgrantedtheFTC'Sm otion
            and entered a tem porary restraining orderw ith an assetfreeze. Bank records
            show ed thatthe day ofthe TR O hearing,one ofthe individualdefendants
            accessed asafedepositbox. Otherrecordsshowed thatthedefendanthad
            purchased $649,309.03in gold,bullion,and certiticates.W hen the safedeposit
            box wasinventoried by theFTC and thedefendants'counselafterentry ofthe
            TRO,thebox wasfound to contain only approximately $192,714.24 in gold.The
            rem aining $456,594.79 in gold wasneverrecovered.
         n. lnFFC v.AssailInc.,No.03-007(W .D.Tex.2003),thecourtissuedan exparte
            TR O ,including an assetfreeze. The lead defendantnonethelesstransferred
            $200,000within hoursofbeing senred with theTRO,which,aftercontempt
            proceedings and a lengthy appeal,the defendantw asrequired to repay.
         o. lnFFC v.QT lnc.,No.03-3578(N.D.111.2003),defendants,afternoticeofa
            TRO with an assetfreeze,withdrew and transferredm orethan $2m illion dollars
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               from banksthathad notyetreceived notice ofthe assetfreeze.
           p. lnFI'
                  C v.PhysiciansHealthcareDev,Inc.,No.CV-02-2936(C.D.Cal.2002),
               the FTC provided notice offiling an exparte action to the individualdefendants.
               The courtissued a TRO w ith assetfreeze and prohibition againstdestruction of
               records,and thedefendantswere selwed with theTRO the sam eday.Thenext
               day w hen FTC staffw entto the defendants'ofticesto take controlofthe business
               records,they foundthatbusinessrecords,including computers,had been rem oved
               from the prem isesor shredded. W itnessesadvised FTC staffthat,on the day of
               the hearing on the TRO ,they observed defendants'em ployeesrem oving
               com putersand otheritem sfrom thebusinessprem ises. Therecordsthatwere
               Cem oved W CCC l'leverrecovered.
    19.ln the FTC'S experience,defendants m ay also learn abouta case againstthem from a
docketm onitoring service. Forexam ple,in FFC v. Wazzu Corp ., No.cv-99-13114 (C.
                                                                                D.Cal.
1999),when FTC staffarrivedatthedefendants'businesspremisestoserveatemporary
restraining order,itdiscovered thatdefendantshad already leanzed aboutthe action againstthem
from amonitoring serviceto whichtheircounselsubscribed. Them onitoring servicewould not
have learned ofthe action atthe tim e offiling ifthe tile and dockethad been tem porarily sealed.
   20.For a11the above reasons,as contem plated by Fed.R .Civ.P. 65(b),thereisgood causeto
believe thatim m ediate and irreparable dam age w illresultto consum ers from the dissipation of
assets,and from the concealm ent,transfer,ordestruction ofDefendants'records, ifDefendants
receive advance notice ofthe FTC'S Com plaintand TRO M otion. Thus,itisin the interests of
justicethatthisCourtgranttheFTC'SexparteTRO MotionandexparteM otionforTemporary
Sealofthe Case File.
   2 1.The FTC hasnotm ade a previousapplication forsim ilarreliefin thism atter.
       Ideclaretmderpenaltyofperjurythattheforegoingistnzeandcorrect.Executedthis
12th day ofN ovem ber,2020,in A tlanta,Ga.
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                                                                 oA 4
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                                             H A ROLD E.K IRTZ
                                             Florida SpecialBarN o.A
                                             FederalTrade Com m ission
                                             225 Peachtree Street,Suite 1500
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